Case 1:04-cr-10299-PBS Document 95-3 Filed 03/23/05 Page 1 of 16

JS 45 (5/97) - (Revised USAO MA 3/25/02) Pape 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant JAVIER ANGEL ROMERO

U.S.C, Citations
Index Key/Code Description of Offense Charged Count Numbers

Set1 21 U.S.C. Sec. 846 Conspiracy to Distribute 5 Kg of Cocaine Count One

Set 2

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:
Case 1:04-cr-10299-PBS Document 95-3 Filed 03/23/05 Page 2 of 16 is

aU5 45 (5/97) - (Revised USAO MA 6/29/04)

Criminal Case Cover Sheet

U.S. District Court - District of Massachusetts

Place of Offense: MA

City _Lynn/Peabody

County _Essex

Category No. Investigating Agency DEA/MSP
Related Case Information:
Superseding Ind./ Inf. Xx Case No. 04-10299-PBS
Same Defendant x New Defendant

04-m-1685-CBS
04-m-1720 to 1730

Magistrate Judge Case Number
Search Warrant Case Number

R 20/R 40 from District of

Defendant Information:
Defendant Name CHRISTIAN GERMOSEN Juvenile [] Yes No
Alias Name
Address
Birth date (Year only): _ ss SSN (last4#): Sex M Race: _Hispanic Nationality: _Dom. Rep.
Defense Counsel if known: Michael Hickey Address: 15 Church Street

_Salem, MA 01970
Bar Number:
U.S. Attorney Information:
AUSA Neil Gallagher Bar Number if applicable
Interpreter: Yes [| No List language and/or dialect: Spanish
Matter tobe SEALED: — [_] Yes No

EC Warrant Requested J Regular Process [In Custody

Location Status:
Arrest Date:
[x] Already in Federal Custody as in
[] Already in State Custody [] Serving Sentence [ ] Awaiting Trial
"| On Pretrial Release: Ordered by on
Charging Document: [] Complaint [ ] Information [x] Indictment
Total # of Counts: [| Petty [ Misdemeanor Lx] Felony 1 count

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are

accurately set forth above.

Date: 3/3) 6 Ss

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Signature of AUSAT OS

Case 1:04-cr-10299-PBS Document 95-3 Filed 03/23/05 Page 3 of 16

®IS 45 (5/97) - (Revised USAO MA 3/15/02) Page 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant CHRISTIAN GERMOSEN

U.S.C. Citations
Index Key/Code Description of Offense Charged

Set1 21 0U.S.C. Sec. 846 Conspiracy to Distribute 5 Kg of Cocaine

Count Numbers

Count One

Set 2

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION;
Case 1:04-cr-10299-PBS Document 95-3 Filed 03/23/05 Page 4 of 16

® JS 45 (5/97) - (Revised USAO MA 6/29/04)

Criminal Case Cover Sheet

{6

U.S. District Court - District of Massachusetts

Place of Offense: MA

Category No.

City _Lynn/Peabody

County _Essex

Defendant Information:

Defendant Name JUAN MARTINEZ

Investigating Agency _DEA/MSP

Related Case Information:

Superseding Ind Inf. X
Same Defendant x

Magistrate Judge Case Number
Search Warrant Case Number
R 20/R 40 from District of

Case No.

New Defendant
04-m-1685-CBS
04-m-1720 to 1730

04-10299-PBS

[| Yes No

Juvenile

Alias Name Juan Eustate

Address

Birth date (Year only): _ SSN (last4#): _ Sex _M Race: Hispanic Nationality: Mexican
Defense Counsel if known: Address:

Bar Number:

U.S. Attorney Information:

AUSA Neil Gallagher

Bar Number if applicable

Interpreter: Yes [] No List language and/or dialect: Spanish
Matter to be SEALED: v7] Yes [x | No
[_] Warrant Requested C] Regular Process C] In Custody
Location Status:
Arrest Date: FUGITIVE
CJ Already in Federal Custody as in
[ Already in State Custody [ ] Serving Sentence [ | Awaiting Trial
[J On Pretrial Release: Ordered by on
Charging Document: Cj Complaint L] Information Indictment
Total # of Counts: [| Petty [] Misdemeanor Felony 1 count

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are

accurately set forth above.

Date: S/23/€S5

Signature of AUSA? ™

Case 1:04-cr-10299-PBS Document 95-3 Filed 03/23/05

JS 45 (5/97) - (Revised USAO MA 3/25/02) Page 2 of 2 or Reverse

Page 5 of 16

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant JUAN MARTINEZ

U.S.C, Citations
Index Key/Code Description of Offense Charged
Set 1 21 U.S.C. Sec. 846 Conspiracy to Distribute 5 Kg of Cocaine

Count Numbers

Count One

Set 2

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:
Case 1:04-cr-10299-PBS Document 95-3 Filed 03/23/05 Page 6 of 16

SS 45 (5/97) - (Revised USAO MA 6/29/04)

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts

Place of Offense: MA Category No. Investigating Agency _DEA/MSP

City _Lynn/Peabody Related Case Information:

County Essex Superseding Ind/Infi X Case No. 04-10299-PBS
Same Defendant x New Defendant

Magistrate Judge Case Number 04-m-1685-CBS
Search Warrant Case Number 04-m-1720 to 1730
R 20/R 40 from District of

Defendant Information:

Defendant Name GERARDO VASSUER ORTIZ Juvenile [| Yes No

Alias Name Scarface

Address

Birth date (Year only): _SSN (last 4 #): Sex M Race: Hispanic Nationality: Mexican

Defense Counsel ifknown: Richard Welsh Address: 80 Worchester St., Ste §

North Grafton MA, 01536

Bar Number:

U.S. Attorney Information:

AUSA Neil Gallagher Bar Number if applicable

Interpreter: Yes [| No List language and/or dialect: Spanish

Matter to be SEALED: | Yes [x] No

CJ Warrant Requested CJ Regular Process CJ In Custody

Location Status:

Arrest Date:

Already in Federal Custody as in

[J Already in State Custody [ | Serving Sentence [] Awaiting Trial

C] On Pretrial Release: Ordered by on

Charging Document: [] Complaint [] Information [x] Indictment

Total # of Counts: [J Petty [ Misdemeanor Felony 1 count

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

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Date: 2 {> 3 | ct» Signature of AUSA: te

Case 1:04-cr-10299-PBS Document 95-3 Filed 03/23/05 Page 7 of 16

& JS 45 (5/97) - (Revised USAO MA 3/25/02) Page 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant GERARDO VASSUER ORTIZ

U.S.C. Citations
Index Key/Code Description of Offense Charged

Set1 21 U.S.C. Sec. 846 Conspiracy to Distribute 5 Kg of Cocaine

Count Numbers

Count One

Set 2

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:
Case 1:04-cr-10299-PBS Document 95-3 Filed 03/23/05 Page 8 of 16
®.JS 45 (5/97) - (Revised USAO MA 6/29/04}

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts

Place of Offense: MA Category No. Investigating Agency _DEA/MSP

City _Lynn/Peabody Related Case Information:

County _Essex Superseding Ind./ Inf. _X Case No. 04-10299-PBS
Same Defendant x New Defendant

Magistrate Judge Case Number 04-m-1685-CBS
Search Warrant Case Number 04-m-1720 to 1730
R 20/R 40 from District of

Defendant Information:

Defendant Name PHIL ASARO Juvenile [| Yes No

Alias Name

Address

Birth date (Year only): SSN (last 4 #): Sex M Race: Caucasian Nationality:

Defense Counsel if known: Kirk Griffin Address: 50 Standford Street

_Boston, MA 02114

Bar Number:

U.S. Attorney Information:

AUSA Neil Gallagher Bar Number if applicable

Interpreter: [J Yes [x] No List language and/or dialect:

Matter tobeSEALED: []Yes [x ]No

[| Warrant Requested [7 Regular Process LC] In Custody

_ Location Status:

Arrest Date:

[| Already in Federal Custody as in

[1] Already in State Custody [ | Serving Sentence [ | Awaiting Trial

[x] On Pretrial Release: Ordered by MJ Swartwood on May 2004

Charging Document: CJ Complaint [J Information Indictment

Total # of Counts: [| Petty [J Misdemeanor [x] Felony 1 count

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

Date: 2 /I3/ES Signature of AUSAt > eT
Case 1:04-cr-10299-PBS Document 95-3 Filed 03/23/05 Page 9 of 16

IS 45 (5/97) - (Revised USAO MA 3/25/02) Page 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant PHIL ASARO

U.S.C. Citations
Index Kev/Code Description of Offense Charged

Count Numbers

Count One

Set1 21 0U.S.C. Sec. 846 Conspiracy to Distribute 5 Kg of Cocaine

Set 2

Set 3

Set 4

Set §

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:
Case 1:04-cr-10299-PBS Document 95-3 Filed 03/23/05 Page 10 of 16 if

%JS 45 (5/97) - (Revised USAO MA 6/29/04)

Criminal Case Cover Sheet

U.S. District Court - District of Massachusetts

Place of Offense: MA

City _Lynn/Peabody

County _Essex

Defendant Information:

Defendant Name SILVESTRE LIZARDI

Category No.

Investigating Agency _DEA/MSP

Related Case Information:

Superseding Ind/ Inf. X
Same Defendant x

Magistrate Judge Case Number
Search Warrant Case Number
R 20/R 40 from District of

Case No.
New Defendant

04-m-1685-CBS
04-m-1720 to 1730

04-10299-PBS

EJ Yes No

Juvenile

Ahas Name

Address

Birth date (Year only): SSN (last 4 #): Sex M Race:

Defense Counsel if known:

Michael Sneider

Hispanic Nationality:

Address: 95 Commercial Whart

Bar Number:

Boston. MA 2110

U.S, Attorney Information:

AUSA Neil Gallagher

Bar Number if applicable

[x] Yes [J No

Interpreter:
Matter to be SEALED:

[] Warrant Requested
Location Status:

Arrest Date:

Already in Federal Custody as

[| Already in State Custody

C] On Pretrial Release:
Charging Document:

Total # of Counts:

[J Petty

List language and/or dialect: Spanish
Cy Yes [x ] No
TJ Regular Process C] In Custody
in
[] Serving Sentence [] Awaiting Trial
Ordered by MJ Swartwood on May 2004
C] Complaint CJ Information [x] Indictment

[ Misdemeanor

Felony

1 count

Continue on Page 2 for Entry of U.S.C. Citations

[x]

accurately set forth above.

Date: > [> 3f cS

Signature of AUSAT7 7 ==

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are

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Case 1:04-cr-10299-PBS Document 95-3 Filed 03/23/05 Page 11 of 16

®3JS 45 (5/97) - (Revised USAG MA 3/25/02) Page 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant SILVESTRE LIZARDI

U.S.C. Citations
Index Key/Code Description of Offense Charged
Set1 21 U.S.C. Sec. 846 Conspiracy to Distribute 5 Ke of Cocaine

Count Numbers

Count One

Set 2

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:
Case 1:04-cr-10299-PBS Document 95-3 Filed 03/23/05 Page 12 of 16

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®4IS 45 (5/97) - (Revised U.S.D.C, MA 2/7/02) z
Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. _II Investigating Agency DEA
City Lynn Related Case Information:
County Essex Superseding Ind./ Inf. x Case No. _04-10299 PBS
Same Defendant x New Defendant

Magistrate Judge Case Number 04-M-1685 CBS
Search Warrant Case Number _04-M-1720 to 1730

R 20/R 40 from District of
Defendant Information:
Defendant Name ROBERT V. RUSCIO Juvenile: O Yes X No
Alias Name
Address 286 NEWBURY ST., PEABODY, MA
Birthdate: 7/15/51 SS # _000-00-7920 Sex: MALE Race: White Nationalit USA
Defense Counsel if known: Edward L. Hayden, Esq. Address 7 Franklin St., Lynn, MA
Bar Number
U.S. Attorney Information:
AUSA  _Neil Gailagher Bar Number if applicable
Interpreter: CO) Yes xX No List language and/or dialect:
Matter to be SEALED: Yes X No
\ Warrant Requested XC] Regular Process In Custody
Location Status:
Arrest Date
Already in Federal Custody as of in
O Already in State Custody at C1 Serving Sentence 1 Awaiting Trial
* On Pretrial Release: Ordered by: Mag. Judge Swartwood on
Charging Document: Complaint QO Information X Indictment
Total # of Counts: L] Petty ————— OC Misdemeanor —— XO Felony ——2————

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

Date: a {223 [cS Signature of AUSA: “*~ : . =y on. < 7.

Case 1:04-cr-10299-PBS Document 95-3 Filed 03/23/05 Page 13 of 16

JS 45 (5/97) (Revised U.S.D.C, MA 2/7/02) Page 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant ROBERT V. RUSCIO

U.S.C, Citations
Index Key/Code Description of Offense Charged

Set] 21 USC 846 CONSPIRACY DISTRIBUTE COCAINE

Count Numbers

Set2 _21 USC 856 MAINT. PLACE FOR DRUG PURPOSES

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:

Case 1:04-cr-10299-PBS Document 95-3 Filed 03/23/05 Page 14 of 16
*aJS 45 (5/97) - (Revised USAO MA 6/29/04)

Criminal Case Cover Sheet U.S, District Court - District of Massachusetts

Place of Offense: MA Category No. Investigating Agency _DEA/MSP

City _Lynn/Peabody Related Case Information:

County _Essex Superseding Ind/ Inf. xX Case No. 04-10299-PBS
Same Defendant x New Defendant

Magistrate Judge Case Number 04-m-1685-CBS
Search Warrant Case Number 04-m-1720 to 1730
R 20/R 40 from District of

Defendant Information:

Defendant Name GIOVANI AVILA Juvenile [_] Yes No

Ahas Name

Address

Birth date (Year only): ___ SSN (last 4 #): ____s Sex M Race: Hispanic __ Nationality:

Defense Counsel ifknown: Michael Natola Address: 240 Commerical Street, Ste 2B
Boston, MA 02109

Bar Number:

U.S. Attorney Information:

AUSA Neil Gallagher Bar Number if applicable

Interpreter: [] Yes [x] No List language and/or dialect:

Matter tobeSEALED: []yYes [x ]No

[7] Warrant Requested CJ Regular Process [im Custody

Location Status:

Arrest Date:

[ ] Already in Federal Custody as in

[J Already in State Custody [] Serving Sentence [ ] Awaiting Trial

[x] On Pretrial Release: Ordered by _MJ Swartwood on _May 2004

Charging Document: [] Complaint J Information [x] Indictment

Total # of Counts: [| Petty [J Misdemeanor [x| Felony 1 count

Continue on Page 2 for Entry of U.S.C. Citations

[x] I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

Date: —5 /> 3/ts Signature of AUSAT "= © “Te

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Case 1:04-cr-10299-PBS Document 95-3 Filed 03/23/05

%J8 45 (5/97) - (Revised USAO MA 3/25/02) Page 2 of 2 or Reverse

Page 15 of 16

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant GIOVANI AVILA

U.S.C, Citations

Index Key/Code Description of Offense Charged
Set1 21 U.S.C, Sec. 846 Conspiracy to Distribute 5 Kg of Cocaine

Count Numbers

Count One

Set 2

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:
Case 1:04-cr-10299-PBS Document 95-3 Filed 03/23/05 Page 16 of 16 2

3
®aJS 45 (5/97) - (Revised USAO MA 6/29/04)
Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: MA Category No. Investigating Agency _DEA/MSP
City _Lynn/Peabody Related Case Information:
County _Essex Superseding Ind/ Inf. X Case No. 04-10299-PBS
Same Defendant x New Defendant

Magistrate Judge Case Number 04-m-1685-CBS
Search Warrant Case Number 04-m-1720 to 1730
R 20/R 40 from District of

Defendant Information:

Defendant Name _GILBERTO ZAYAS Juvenile _[[] Yes No

Alias Name _Cumbia King, Tony

Address

Birth date (Year only): SSN (last 4 #): Sex M Race: Hispanic Nationality:

Defense Counsel if known: Raymond E. Gillespie Address: 8/5 Massachusetts Ave, Ste 32
Cambridge, MA 02139

Bar Number:

U.S, Attorney Information:

AUSA Neil Gallagher Bar Number if applicable

Interpreter: Yes C7] No List language and/or dialect: Spanish

Matter tobe SEALED: []Yes [x] No

["] Warrant Requested [_] Regular Process [J In Custody

Location Status:

Arrest Date:

[_] Already in Federal Custody as in

[| Already in State Custody [ | Serving Sentence [J Awaiting Trial
[x] On Pretrial Release: Ordered by _MJ Swartwood on May 2004

Charging Document: [] Complaint CJ Information [x] Indictment

Total # of Counts: [] Petty [ ] Misdemeanor [x] Felony 1 count

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

Date: -2 /2 VCS Signature of AUSA: 9 <>

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